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    UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT


                                      No. 22-1039



                        Renata Barker v. Tyson Foods Inc, et al

                       (U.S. District Court No.: 2-21-cv-00223)


                                        ORDER

      Pursuant to Fed. R. App. P. 3(a) and 3rd Cir. Misc. LAR 107.2(b), it is

      ORDERED that the above-captioned case is hereby dismissed for failure to
timely prosecute insofar as appellant failed to file a brief and appendix as directed. It
is

     FURTHER ORDERED that a certified copy of this order be issued in lieu of a
formal mandate.



For the Court,

s/ Patricia S. Dodszuweit
Clerk

Dated: July 21, 2022                                  A True Copy:
AMR/cc: Andrea R. Butler, Esq.
Paul D. Clement, Esq.
Jeffrey P. Goodman, Esq.
Erin E. Murphy, Esq.                                  Patricia S. Dodszuweit, Clerk
C. Harker Rhodes IV, Esq.                             Certified Order Issued in Lieu of Mandate
